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5
     Attorney for Defendant
     VI A. LE
6
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                        )       No. CR-S-10-443 JAM
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     VI A. LE,                                        )
                                                      )       Date: May 7, 2013
13
                                                      )       Time: 9:45 a.m.
               Defendant.                             )       Judge: Honorable John A. Mendez
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Todd D. Leras, Assistant
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     United States Attorney, together with counsel for defendant Vi A. Le, John R. Manning, Esq.,
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19   hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on March 12, 2013 at 9:45
21
     a.m.
22
          2. By this stipulation, defendants now move to continue the status conference until May 7,
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24
     2013 and to exclude time between March 12, 2013 and May 7, 2013 under the Local Code T-4

25   (to allow defense counsel time to prepare). Defendant Dong Ping Huang wishes to remain on
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     calendar for COP.
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          3.   The parties agree and stipulate, and request the Court find the following:
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     a. Counsel for the defendant needs additional time to meet with the defendant (with
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2       interpreter) in order to complete their review of the discovery; investigation reports,

3       discussion and analysis of relevant USSG calculations; and, review the plea
4
        agreement.
5
     b. This case includes 526 pages of discovery as well as one disc of video.
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7
     c. The defendant requires the services of a Cantonese interpreter in order to

8       communicate effectively with counsel.
9    d. This case is one of a series of cases evolving from a lengthy DEA/Elk Grove PD/Sac
10
        SO investigation into widespread use of vacant home in the Elk Grove area (and Bay
11
        Area) as "grow houses." Many, if not all, of the defendants (and witnesses) in this
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13      series of cases speak Cantonese (or another dialect) requiring the use of an interpreter.

14      One of the cases stemming from this investigation, involving multiple defendants (all
15
        of whom require Cantonese/Mandarin interpreters) had been set for trial (Hong et al
16
        11-166 MCE) until recently (I am counsel of record for Mr. Ma in 11-166 MCE).
17
        Because Hong et al had been sent for trial, both the interpreters and the Agents (who
18

19      are involved in this case) were unavailable (or, at least, significantly compromised in

20      terms of their availability) for a period of time.
21
     e. As indicated, this case is part of a much larger operation focusing on indoor grows in
22
        South Sacramento and Elk Grove. It has been remarkably productive – resulting in
23

24
        the seizure of thousands of plants, numerous search warrants, and the arrest of several

25      dozen defendants (the vast majority of whom speak either Cantonese, Vietnamese,
26      Mandarin, or Hakka). Co-coordinating meeting between the Parties has proved
27
        challenging.
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           f. Counsel for defendant believes the failure to grant a continuance in this case would
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2               deny defense counsel reasonable time necessary for effective preparation, taking into

3               account the exercise of due diligence.
4
           g. The Government does not object to the continuance.
5
           h. Based on the above-stated findings, the ends of justice served by granting the
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7
                requested continuance outweigh the best interests of the public and the defendant in a

8               speedy trial within the original date prescribed by the Speedy Trial Act.
9          i.   For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) and (B)(iv) within which trial must commence, the time period
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                of March 12, 2013 to May 7, 2013, inclusive, is deemed excludable pursuant to 18
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13              United States Code Section 3161(h)(7)(A) and (B)(iv) corresponding to Local Code

14              T-4 because it results from a continuance granted by the Court at defendant’s request
15
                on the basis of the Court’s finding that the ends of justice served by taking such
16
                action outweigh the best interest of the public and the defendant in a speedy trial.
17
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
18

19         Speedy Trial Act dictate that additional time periods are excludable from the period

20         within which a trial must commence.
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22
     IT IS SO STIPULATED.
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25   Dated: March 7, 2013                                          /s/ John R. Manning
                                                                  JOHN R. MANNING
26                                                                Attorney for Defendant
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                                                                  Vi A. Le

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     Dated: March 7, 2013                              Benjamin B. Wagner
1
                                                       United States Attorney
2
                                                       by:/s/ Todd D. Leras
3                                                      TODD D. LERAS
                                                       Assistant U.S. Attorney
4

5
                                         ORDER
6

7    IT IS SO FOUND AND ORDERED this 7th day of March, 2013.
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9
                                                /s/ John A. Mendez____________
10                                              Hon. John A. Mendez
                                                United States District Court Judge
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